                     Case 1:17-cr-00509-RA Document 4 Filed 07/18/17 Page 1 of 1


DOCKET No. l 7mg5300                                                 DEFENDANT _P_au_l_H_a_v~e_rk~a_m-+p_ _ _ _ _ _ _ _ _ __


AUSA Aline Flodr                                                     DEF.'S COUNSEL -"-Ju...,l....,ia.._G,,._..,att..,o"--~~-~------
                                                                     0   RETAINED     Ill FEDERAL DEFENDERS            0   CJA    0   PRESENTMENT ONLY
0                                 INTERPRETER NEEDED
                                                                                   0 DEFENDANT WAIVES PRETRIAL REPORT

D Rule 5       D Rule 9 D Rule S(c)(3) D Detention Hrg.                   DATE OF ARREST 7118/2017                                    DvoL. suRR.
                                                                          TIME OF ARREST -29_...·0..,.0,_.a...,m........__ __         DoNwrur
D Other:.- - - - - - - - - - - - - - -                                    TIME OF PRESENTMENT 3:40 0 .m.


                                                            BAIL DISPOSITION

0 DETENTION ON CONSENT W/O PREJUDICE
0 DETENTION HEARING SCHEDULED FOR:
0 AGREED CONDITIONS OF RELEASE     ---------
0 DEF. RELEASED ON OWN RECOGNIZANCE
0$               PRB 0         FRP
DSECUREDBY$                CASH/PROPERTY: --------'~---------.ff----~
0 TRAVEL RESTRICTED TO SDNY/EDNYI
0 TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL
0 SURRENDER TRAVEL DOCUMENTS (&NO NEW APPLICATIONS)

0 PRETRIAL SUPERVISION: 0 REGULAR 0 STRICT 0 AS DIRECTED BY PRETRIAL SERVICES
0 DRUG TESTING/TREATMT AS DIRECTED BY PTS 0 MENTAL HEALTH EV AL/TREATMftnPTJ;R13Y PTS
0 DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTINGITRJW'\1J1'JI 11' ___ ----

0 HOME INCARCERATION      0 HOME DETENTION 0 CURFEW       0 ELECTRONIC MONITORING     0 GPS
0 DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

0 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 0 DEF. TO CONTINUE OR ST ART EDUCATION PROGRAM
0 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
0 DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ;REMAINING CONDITIONS TO BE MET BY: _ _ _ __

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:




0 DEF. ARRAIGNED; PLEADS NOT GUILTY                        0 CONFERENCE BEFORE D.J. ON _ _ _ _ __
0 DEF.WAIVES INDICTMENT
0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _ _ _ __

For Rule 5(c)(3) Cases:
0 IDENTITY HEARING WAIVED                                           0 DEFENDANT TO BE REMOVED
0 PRELIMINARY HEARING IN SDNY WAIVED                                0 CONTROL DATE FOR REMOVAL: - - - - - -


PRELIMINARY HEARING DATE: 8/17/2017                                 Ill ON DEFENDANT'S C               NSENT
                                                                                                       /~              ,,_.fi /
DATE: 7/18/2017                                                                                    (       \._ ..-"'       't'
                                                                                UNITED STAt S MAGISTRATE
Wl:ilI.E (original)- COURT FILE     £lliK- U.S. ATTORNEY'S OFFICE           Y.E1J.ID:Y - U.S. MARSHAL            QREEN - PRETR AL SERVICES AGENCY
Rev'd 20I6
